AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Middle District of Tennessee

John Ruffino and Martha Ruffino, Husband and Wife

Plaintiff

Vv. Civil Action No. 3:17-cv-00725

Dr. Clark Archer and HCA Health Services of
Tennessee, Inc. d/b/a StoneCrest Medical Center

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Defendant
ALIAS SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Dr, Clark Archer
TriStar StoneCrest Medical Center
200 StoneCrest Boulevard
Smyrna, TN 37167

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Brian Cummings

Brian Manookian
Cummings Manookian PLC
45 Music Square West
Nashville, TN 37203

If you fail to respond, judgment by default will be entered against you for the relief Aeryanded in the complaint.
You also must file your answer or motion with the court. wet TREPGCKAION Us

JUN --6 2017

CLERK OF COURT
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Date:

Signature of Clerk or Deputy Clerk

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